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UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

Inre: NEURONTIN MARKETING, SALES PRACTICES,
AND PRODUCTS LIABILITY LITIGATION

HARDEN MANUFACTURING CORPORATION;
LOUISIANA HEALTH SERVICE INDEMNITY COMPANY,
dba BLUECROSS/BLUESHIELD OF LOUISIANA;
INTERNATIONAL UNION OF OPERATING ENGINEERS,
LOCAL NO. 68 WELFARE FUND; ASEA/AFSCME LOCAL
52 HEALTH BENEFITS TRUST; GERALD SMITH; and
LORRAINE KOPA, on behalf of themselves and all others
similarly situated, v. PFIZER INC. and WARNER-LAMBERT
COMPANY.

THE GUARDIAN LIFE INSURANCE COMPANY OF
AMERICA v. PFIZER INC, and

AETNA, INC. v. PFIZER INC.

DECLARATION OF RAJESH S. JAMES

MDL Docket No. 1629
Master File No. 04-10981
Judge Patti B. Saris

Magistrate Judge Leo T.
Sorokin

RAJESH S. JAMES declares upon penalty of perjury in accordance with

28 U.S.C. § 1746 as follows:

I, I am an attorney associated with the law firm Davis Polk &

Wardwell, counsel for Defendants Pfizer Inc. and Warner-Lambert Company in

this action.
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2. I submit this declaration in support of Defendants’ Motion For
Summary Judgment, filed on March 2, 2009.

3. Attached as Exhibit | is a true and correct excerpt of the transcript
of the deposition of Gerald Smith, taken October 9, 2006.

4, Attached as Exhibit 2 is a true and correct copy of a letter from Dr.
Kylene Huler to Dr. Thaddeus Poe, dated August 14, 2001.

5, Attached as Exhibit 3 is a true and correct excerpt of the transcript
of the deposition of Dr. Kylene Huler, taken November 1, 2006.

6. Attached as Exhibit 4 is a true and correct excerpt of the transcript
of the deposition of Lorraine Kopa, taken January 10, 2006.

7. Attached as Exhibit 5 is a true and correct excerpt of the transcript
of the deposition of Dr. Vithal Dhaduk, taken November 12, 2006.

8. Attached as Exhibit 6 is a true and correct excerpt of the transcript
of the deposition of Dr. Gregory Rogers, taken February 2, 2008.

9, Attached as Exhibit 7 is a true and correct copy of a Progress Note
for Carolyn Hollaway, which was produced by Hollaway, with the bates range
HOLLOWAY0017-18.

10. Attached as Exhibit 8 is a true and correct excerpt of the transcript
of the deposition of Gary L. Varnam, taken February 7, 2008.

11. Attached as Exhibit 9 is a true and correct excerpt of the transcript
of the deposition of Dr. John Arness, taken February 13, 2008.

12. Attached as Exhibit 10 is a true and correct copy of the Declaration

of Dr. Beverley Grimm, dated March 11, 2008.
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13. Attached as Exhibit 11 is a true and correct copy of a medical
record of Gary L. Varnam, which was produced by non-party Kennebec
Behavioral Health, with the bates range KBH_VARNAM _ 00193.

14. Attached as Exhibit 12 is a true and correct excerpt of the
transcript of the deposition of Jan Frank Wityk, taken February 5, 2008.

15. Attached as Exhibit 13 is a true and correct excerpt of the
transcript of the deposition of Dr. Nagaveni Ragothaman, taken April 4, 2008.

16. Attached as Exhibit 14 is a true and correct excerpt of the
transcript of the deposition of Dr. Jerrold Gray, taken February 6, 2008.

17, Attached as Exhibit 15 is a true and correct copy of a medical
record of Jan Frank Wityk, dated February 1, 2000, which was produced by
Wityk, with the bates range Wityk046-47,

18. Attached as Exhibit 16 is a true and correct copy of a medical
record of Jan Frank Wityk, dated January 19, 2000, which was produced by
Wityk, with the bates range Wityk048-49,

19, Attached as Exhibit 17 is a true and correct excerpt of the
transcript of the deposition of Jeanne Ramsey, taken February 8, 2008.

20. Attached as Exhibit 18 is a true and correct excerpt of the
transcript of the deposition of Dr. Rick T. Waldo, taken February 1, 2008.

21. Attached as Exhibit 19 is a true and correct excerpt of the
transcript of the deposition of Dr. Robert F. Haynsworth, Jr., taken February 1,

2008.
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22. Attached as Exhibit 20 is a true and correct excerpt of the
transcript of the deposition of the Rule 30(b)(6) designee of Kaiser Foundation
Health Plan, Inc. and Kaiser Foundation Hospitals (together, Kaiser ), Albert L.
Carver, taken July 12 - 13 2007.

23. Attached as Exhibit 21 is a true and correct copy of a Drug
Monograph, which was produced by Kaiser, bearing the bates range KAIS-
003259-68.

24. Attached as Exhibit 22 is a true and correct excerpt of the
transcript of the deposition of Mirta Millares, taken October 2, 2007.

25, Attached as Exhibit 23 is a true and correct copy of a document
titled Kaiser Permanente Ohio: Headache Guideline, which was produced by
Kaiser, bearing the bates range KAIS-045034-39.

26. Attached as Exhibit 24 is a true and correct copy of a document
titled Drug Monograph, which was produced by Kaiser, bearing the bates range
KAIS-044043-67.

27. Attached as Exhibit 25 is a true and correct copy of a document
titled Issue 4, April 2002, which was produced by Kaiser, bearing the bates range
KAIS-044090-91,

28. Attached as Exhibit 26 is a true and correct copy of a presentation
titled Kaiser Interregional Pharmacy Meeting, dated April 2004, which was
produced by Kaiser, bearing the bates range KAIS-0038 13-44.

29, Attached as Exhibit 27 is a true and correct copy of a document

titled Regional Formulary and Therapeutics Committee Minutes, dated February
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10, 2000, which was produced by Kaiser, bearing the bates range KAIS-0044373-
80.

30. Attached as Exhibit 28 is a true and correct excerpt of the
transcript of the deposition of Michael Brodeur, taken July 26 - 27, 2007 & July 1,
2008.

31. Attached as Exhibit 29 is a true and correct copy of a document
titled National P&T Committee Executive Summary Agents to Treat Neuropathic
Pain: Formulary Therapeutic Class Review, which was produced by Aetna, Inc.
(“Aetna”), bearing the bates range AET019889- 903.

32, Attached as Exhibit 30 is a true and correct copy of the 2008 Actna
Online Medicare Drugbase, which was produced by Aetna, bearing the bates
range AET020261-375.

33. Attached as Exhibit 31 is a true and correct copy of a Dear
Physician letter from Aetna Pharmacy Management, dated March 2006, which
was produced by Aetna, bearing the bates range AET007899-900.

34, Attached as Exhibit 32 is a true and correct copy of a Dear
Physician letter, dated February 28, 2005, which was produced by Aetna, bearing
the bates range AET007901-02.

35. Attached as Exhibit 33 is a true and correct excerpt of the
transcript of the deposition of Ariel Fernando, taken July 17 - 18, 2007.

36. Attached as Exhibit 34 is a true and correct excerpt of the

transcript of the deposition of Barry S. Davis, taken October 26, 2007.
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37. Attached as Exhibit 35 is a true and correct excerpt of the
transcript of the deposition of Milam W. Ford, taken January 19 - 20, 2006.

38. Attached as Exhibit 36 is a true and correct excerpt of the
transcript of the deposition of Fred Grant Brown, taken October 19 - 20, 2005.

39, Attached as Exhibit 37 is a true and correct excerpt of the
transcript of the deposition of Walter E. Matthews, taken December 14, 2005,

40, Attached as Exhibit 38 is a true and correct excerpt of the
transcript of the deposition of Meredith B. Rosenthal, Ph.D., taken January 13 -14,
2009,

Al, Attached as Exhibit 39 is a true and correct excerpt of the
transcript of the deposition of Meredith B. Rosenthal, Ph.D., taken July 9, 2008.
42. Attached as Exhibit 40 is a true and correct excerpt of the
transcript of the deposition of Dr. Douglas C. McCrory, taken January 29 - 30,

2009,

43, Attached as Exhibit 41 is a true and correct excerpt of the
transcript of the deposition of Raymond Hartman, taken December 13, 2006 &
January 27, 2009.

44. Attached as Exhibit 42 is a true and correct excerpt of the
transcript of the deposition of Nicholas P. Jewell, Ph.D., taken January 8, 2009.
4S, Attached as Exhibit 43 is a true and correct excerpt of the
transcript of the deposition of Dr. Thomas L. Perry, taken January 23 - 24, 2009.
46. Attached as Exhibit 44 is a true and correct excerpt of the

transcript of the deposition of Dr. Jeffrey S. Barkin, taken January 21 - 22, 2009.
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47. Attached as Exhibit 45 is a true and correct excerpt of the
transcript of the deposition of Dr. Brian K. Alldredge, taken on January 31, 2009.

48. Attached as Exhibit 46 is a true and correct copy of the Report of
Dr. Robert D. Gibbons, dated December 15, 2008.

49, Attached as Exhibit 47 is a true and correct copy of the Report of
Dr. Shawn J. Bird, dated December 12, 2008.

50. Attached as Exhibit 48 is a true and correct copy of the Report of
Report of Dr. Gary J. Brenner, dated December 15, 2008.

51. Attached as Exhibit 49 is a true and correct copy of the Report of
Dr. Alan M. Rapaport, dated December 12, 2008.

52. Attached as Exhibit 50 is a true and correct copy of the Report of

Dr. Michael J. McLean, dated December 12, 2008.

SIGNED UNDER THE PENALTIES OF PERJURY
THIS 2? DAY OF MARCH, 2009

/s/Rajesh S. James
Rajesh S. James
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CERTIFICATE OF SERVICE

[hereby certify that this document filed through the ECF system has been
served pursuant to Case Management Order #3 on March 2, 2009.

/s/David B. Chaffin
David B. Chaffin
